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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                               CASE NO.: 1:20-cv-21994
  FLORIDA FAIR HOUSING
  ALLIANCE, INC.,

         Plaintiff,
  v.

  TOP WELL, LLC d/b/a PALM COURT
  APARTMENTS AT WELLINGTON,
        Defendant.
  _______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Florida Fair Housing Alliance, Inc. (the “FFH Alliance” or “Plaintiff”) sues

  Defendant Top Well, LLC doing business as Palm Court Apartments at Wellington (“Defendant”)

  for violating 42 U.S.C. § 3601 et seq., the Fair Housing Act.

                                                    INTRODUCTION

         1.         “The [Fair Housing Act] is not an instrument to force housing authorities to reorder

  their priorities. Rather, the [Fair Housing Act] aims to ensure that those priorities can be achieved

  without arbitrarily creating discriminatory effects or perpetuating segregation.” Inclusive Cmtys.

  Project, Inc., 135 S. Ct. 2507 at 2522. Due to policies and practices like blanket bans on any

  applicant with a felony conviction, such as those of Defendant as discussed below, the FFH

  Alliance has documented thousands housing units in greater South Florida area that are unavailable

  to individuals with any felony conviction from any point in time, and to many individuals with a

  misdemeanor conviction. To combat the perpetuation of segregation and stem the discriminatory

  impact of needlessly unjust practices, housing providers large and small must evaluate and revise

  the role that criminal records screening policies and practices play in their application decisions to

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  ensure that they are serving a substantial, legitimate, non-discriminatory interest and are not a

  proxy for racial discrimination.

         2.         The “heartland of disparate-impact suits” under the FHA are those which target

  “artificial barriers to housing.” Inclusive Cmtys. Project, Inc., 135 S. Ct. 2507, 2522. In this vein,

  as revealed by the investigation conducted by the FFH Alliance, Defendant imposes a blanket

  prohibition on any person with any conviction record – no matter when the conviction occurred,

  what the underlying conduct entailed, or what the convicted person has done since.

         3.         Due to the documented racial disparity in the criminal legal system, Defendant’s

  below discussed blanket prohibition on applicants with a felony conviction, by extension,

  disproportionately limits housing opportunities of Hispanic applicants as compared to white

  applicants, and in so doing, violates in violation of the Fair Housing Act.

                                           JURISDICTION AND VENUE

         4.         Jurisdiction of this Court arises under 42 U.S.C. § 3613(a), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

         5.         Venue in this District is proper because the subject property is located in this

  district, Plaintiff resides in this district, Defendant transacts business in this district, and the

  complained conduct of Defendant occurred in this district.

                                                          PARTIES

         6.         The FFH Alliance is a fair housing advocacy organization and non-profit

  corporation formed in Florida, and headquartered in Miami-Dade, Florida. The FFH Alliance

  offers a variety of programs and services designed to advance fair housing in Florida. To advance

  its mission of ensuring equal access to housing for all, the FFH Alliance engages in education and

  outreach; provides counseling to individuals facing discrimination; works with local and federal

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  officials to enhance fair housing laws and their enforcement; undertakes investigations to

  uncover unlawful discrimination; and, when necessary, initiates enforcement actions.

         7.         Defendant is a Florida limited liability company, with its principal place of business

  located in Wellington, Florida.

                                           DEMAND FOR JURY TRIAL

         8.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                             FACTUAL ALLEGATIONS

         9.         Approximately 1.5 million individuals are currently serving a sentence of more than

  one year, i.e., the repayment phrase of a felony-level debt to society, under the jurisdiction of state

  or federal correctional authorities in the United States. With respect to these individuals’

  demographics, according to the Bureau of Justice Statistics: 30% are white, 33% are black, and

  25% are Hispanic.1 In comparison to the demographics of the United States population (the total

  of which is estimated at 308 million), however, according to the U.S. Census Bureau: 63% of the

  population is white, 13% of the population is black, 16% of the population is Hispanic.2

         10.        Despite making up a fractional percentage of the United States population in

  comparison to whites, Hispanic individuals are three times more likely to be convicted and

  incarcerated than that of white individuals.3 Thus, in simplest terms, a policy, procedure, or

  practice that arbitrarily denies, without any consideration, housing to individuals with a felony

  conviction will absolutely have a disparate impact on Hispanic individuals.




  1
    Bureau of Justice Statistics, U.S. Dep’t of Justice, Prisoners in 2017, 15 (April 2019), available
  at https://www.bjs.gov/content/pub/pdf/p17.pdf.
  2
    U.S. Census Bureau, U.S. Dep’t of Commerce, Overview of Race and Hispanic Origin: 2010, 6
  (March 2011), available at https://www.census.gov/prod/cen2010/briefs/c2010br-02.pdf.
  3
    Supra at FN. 5.
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         11.      Pursuant to its mission of ensuring equal access to housing for all, the FFH Alliance

  began investigating the “Palm Court” apartment community, located at 711 Forest Club Drive,

  Wellington, Florida. 33414 (the “Complex”), for discriminatory housing practices.

         12.      Defendant is the owner and otherwise landlord of the Complex.

         13.      On March 13, 2020, the FFH Alliance tested the Complex for unlawful

  discriminatory housing practices using a field tester.

         14.      The field tester used by the FFH Alliance to test the Complex (“Field Tester” or

  “FT”) is a sui juris Hispanic male with a felony conviction.

         15.      On March 13, 2020, at approximately 12:58 pm, FT called the Complex at phone

  number: 561-793-8500. After dialing this number, of which was identified as being a recorded

  line, FT was promptly connected to an agent of Defendant, an individual whom identified herself

  as “Melissa,” and FT proceeded to ask whether rental property was available. Defendant, by and

  through this agent, responded without hesitation that properly was available, namely, a two-

  bedroom apartment. FT then asked whether his (FT’s) rental application would be denied due to

  FT’s record felony conviction, to which Defendant, by and though Melissa, told FT “yes.”

         16.      Defendant did not perform any investigation or inquiry into the felony conviction

  had by FT. For example, Defendant did not inquire into the type of felony, the date of conviction,

  the nature of the conviction, let alone the circumstances surrounding the felony conviction had by

  FT. Defendant simply identified FT as an individual with a felony conviction, and without any

  inquiry or investigation, chose to deter FT from renting the property Defendant held open to the

  public due to FT’s record felony conviction.

         17.      Defendant’s response regarding applications submitted by individuals previously

  convicted of a felony clearly shows that rental property within the Complex is subject to a blanket

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  prohibition of fully rehabilitated individuals with any single felony conviction. This is unlawful

  under the Fair Housing Act, as it has a disparate impact on Hispanic people, and fails to serve a

  substantial, legitimate, nondiscriminatory interest of Defendant.

         18.       The actions and statements of Defendant, inter alai, the practice and/or policy to

  automatically deny any prospective individual with a felony criminal record, serves to discourage

  Black and Hispanic/Latino individuals with a criminal record from applying, inspecting, and

  renting the Dwelling, and otherwise restrict the choices of these individuals in connection with

  attempts to seek, negotiation for, and ultimately rent the Dwelling.

         19.       The harm inflicted by discriminatory criminal records policies, like those of

  Defendant, is significant, not only in terms of the sheer number of people affected, but also in

  terms of the consequences for the wellbeing of our communities. In fact, securing safe and

  affordable housing is a particularly crucial need for individuals reentering their communities

  immediately after time in prison.

         20.       Research shows that success in finding adequate housing is critically important to

  allowing reentrants to secure employment, government benefits, and other community ties.

  Housing has been characterized, properly, as the “lynchpin that holds the reintegration process

  together.”4 As another expert put it, “[t]he search for permanent, sustainable housing portends

  success or failure for the entire reintegration process.”5

         21.       Critically, the policy of Defendant to automatically deny any prospective individual

  with a felony criminal record perpetuates segregated housing patterns and discourages and/or



  4
   Jeremy Travis, But They All Come Back: Facing Challenges of Prisoner Reentry 219 (2005)
  5
    Barbara H. Zaitzow, We’ve Come a Long Way, Baby...Or Have We? Challenges and
  Opportunities for Incarcerated Women to Overcome Reentry Barriers 233 (in Global Perspectives
  on Re-Entry (2011)).
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  obstructs choices in the applicable community, neighborhood, and/or development. As such, the

  actions of Defendant consuetude efforts to deprive Black and Hispanic individuals of housing

  opportunities.

         22.        On April 4, 2016, the U.S. Department of Housing and Urban Development

  (“HUD”) issued a document titled “Office of General Counsel Guidance on Application of Fair

  Housing Act Standards to the Use of Criminal Records by Providers of Housing and Real Estate-

  Related Transactions” (the “HUD Guidance”). Attached as Exhibit “A” is a copy of the HUD

  Guidance.

         23.        The Guidance noted that “criminal history-based restrictions on access to housing

  are likely disproportionately to burden African Americans and Hispanics.” Id. HUD found that

  “where a policy or practice that restricts access to housing on the basis of criminal background has

  a disparate impact on individuals of a particular race … such policy or practice is unlawful under

  the Fair Housing Act if it is not necessary to serve a substantial, legitimate, nondiscriminatory

  interest of the housing provider.” See HUD Guidance.

         24.        Ultimately, HUD concluded that “a discriminatory effect resulting from a policy

  or practice that denies housing to anyone with a prior arrest or any kind of criminal

  conviction cannot be justified, and therefore such a practice would violate the Fair Housing

  Act.” Id. (emphasis added).

         25.        According to recent data, studies, and HUD findings, Hispanic people are arrested,

  convicted, and imprisoned at vastly disproportionate in country as a whole, of which is consistent

  within the State of Florida. As such, Defendant's policy actually and predictably results in a

  disparate impact to Hispanic people.




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         26.      Defendant’s policy regarding the criminal history of applicants seeking to rent,

  utilize, or otherwise occupy the Dwelling is unlawful under the Fair Housing Act, as it has a

  disparate impact on individuals of Hispanic heritage and/or descent, and otherwise fails to serve a

  substantial, legitimate, nondiscriminatory interest of the housing provider.

         27.      HUD has found that no substantial, legitimate, nondiscriminatory interest can be

  served where “[a] housing provider … imposes a blanket prohibition on any person with any

  conviction record – no matter when the conviction occurred, what the underlying conduct entailed,

  or what the convicted person has done since then.” Id.

         28.      Consistent with FFH Alliance’s fair housing testing efforts, FFH Alliance’s has a

  practice of continuing to monitor and test those entities and individuals found to have been engaged

  in discriminatory housing practices. FFH Alliance’s will continue monitoring Defendant, and its

  agents, in order to determine its (Defendant’s) ongoing compliance with the Fair Housing Act.

                                           COUNT I.
                              VIOLATION OF THE FAIR HOUSING ACT

         29.      Plaintiff, the FFH Alliance, incorporates by reference paragraphs 1-28 of this

  Complaint as though fully stated herein.

         30.      Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

  violations committed by Defendant and the agents of Defendant.

         31.      Defendant authorized its agents to act for it (Defendant) when Defendant’s agents

  committed the Fair Housing Act violations alleged herein. The agents of Defendant accepted the

  undertaking of acting on behalf of Defendant when they (Defendant’s agents) committed the Fair

  Housing Act violations alleged herein. Defendant had control over its (Defendant’s) agents when

  said agents committed the Fair Housing Act violations alleged herein.


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         32.       With respect to the matter at hand, Defendant’s criminal history policy and/or

  practice – as identified above – is arbitrary, artificial, and unnecessary to achieve a valid interest

  or legitimate objective such as a practical business, profit, policy consideration, or requirement of

  law. Further, there is a robust causal link between the above noted policy and/or practice of

  Defendant and the disparate impact on Hispanic people, as Hispanic individuals are

  disproportionally more likely to have been convicted of a felony than that of white individuals. As

  a result, Defendant’s practice of automatically, or otherwise without any review or investigation,

  denying any prospective individual with a felony criminal record has a direct, disproportionate

  discriminatory effect on Hispanic individuals, as exemplified by the test conducted by Plaintiff.

         33.       Defendant has violated the Fair Housing Act by, inter alia, making unavailable

  and/or otherwise denying the Dwelling to individuals on the basis of race and/or criminal record.

         34.       As a result of Defendant’s conduct - committed despite being engaged in the

  business of real estate, coupled with Plaintiff’s ongoing monitoring efforts - Plaintiff has suffered,

  is continuing to suffer, and will in the future suffer irreparable loss and injury and a real and

  immediate threat of future discrimination by Defendant.

         35.       WHEREFORE, Plaintiff FFH Alliance, respectfully, requests that this Court:

                   (a)       Declare the above-mentioned actions, omissions, polices, and procedures,
                             of Defendant to be in violation of the Fair Housing Act;

                   (b)       Award damages to Plaintiff against Defendant;

                   (c)       Enter a permanent injunction enjoining Defendant from discriminating
                             against individuals on the basis of race and/or criminal history;

                   (d)       Enter a permanent injunction compelling Defendant to amend its
                             (Defendant’s) polices, procedures, and practices, that discriminate against
                             individuals on the basis of race and/or criminal history;

                   (e)       Award Plaintiff costs and reasonable attorneys’ fees; and

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                (f)       Any other relief that this Court deems appropriate and just under the
                          circumstances.
       DATED: May 12, 2020
                                                              Respectfully Submitted,

                                                               /s/ Jibrael S. Hindi                                   .
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